         U N I T E D S TAT E S D I S T R I C T C O U RT
      FOR THE SOUTHERN DISTRICT OF TEXAS
                   HOUSTON DIVISION


Richard Lowery, on behalf of himself   Civil Action No.
and others similarly situated,         4:22-cv-3091

                   Plaintiff,
                                       Judge Charles Eskridge
v.

Texas A&M University System, et al.,

                   Defendants.


     PLAINTIFF’S MOTION FOR CLASS CERTIFICATION
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    Plaintiff Richard Lowery respectfully moves to certify a class of all white and

Asian men who currently stand “able and ready” to apply for faculty appointments

at Texas A&M, as well as those who will stand “able and ready” for faculty appoint-

ments at Texas A&M at some point in the future.

                           STATEMENT OF FACTS
    Professor Lowery has sued the Texas A&M University system and the members

of its board of regents, alleging that the university is violating federal law by using

race and sex preferences in its faculty hiring and compensation. See Complaint, ECF
No. 1. Professor Lowery has brought a class action on behalf of all white and Asian

men who currently stand “able and ready” to apply for faculty appointments at

Texas A&M, as well as those who will stand “able and ready” for faculty appoint-
ments at Texas A&M at some point in the future. See Carney v. Adams, 141 S. Ct.

493, 502 (2020) (holding that those who stand “able and ready to apply” for a job
have standing to seek prospective relief against unlawful or discriminatory selection

practices).

                        STATEMENT OF THE ISSUE
    Should the Court certify the proposed class under Rule 23(b)(2)?

                           STANDARD OF REVIEW
    There is no standard of review for this Court to apply because it is ruling on
Professor Lowery’s class-certification motion in the first instance rather than re-

viewing the decision of a lower court. If this Court’s ruling is appealed, however, the

Fifth Circuit will review this Court’s class-certification decision for an abuse of dis-
cretion. See Maldonado v. Ochsner Clinic Foundation, 493 F.3d 521, 523 (5th Cir. 2007)




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(“This court reviews a district court’s denial of class certification for abuse of dis-

cretion.”).

I.     The Court Should Certify The Proposed Class Under
       Rule 23(b)(2)
     A party that moves for class certification must satisfy each requirement of Rule

23(a) and at least one subdivision in Rule 23(b). The proposed class meets each of
these requirements.

       A.     The Proposed Class Is So Numerous That Joinder Of All
              Members Is Impractical
     A class of over 40 members is presumed to meet the numerosity requirement.

See In re Nat’l Football League Players Concussion Injury Litigation, 821 F.3d 410, 426

(3d Cir. 2016) (“[N]umerosity is generally satisfied if there are more than 40 class

members.”); Mullen v. Treasure Chest Casino, LLC, 186 F.3d 620, 624 (5th Cir. 1999)
(“[A]ny class consisting of more than forty members ‘should raise a presumption

that joinder is impracticable’” (quoting 1 Newberg on Class Actions § 3.05, at 3–25

(3d ed. 1992)). There are at least 40 white or Asian men who stand “able and ready”
to apply for faculty appointments at Texas A&M, or who will stand “able and ready”

for such appointments in the future.

     At Texas A&M, 90% of the faculty hold doctoral or terminal degrees. See Texas
A&M: Faculty & Staff, available at https://bit.ly/3fehNDU (last visited on October

7, 2022). To estimate the number of white and Asian men who stand “able and

ready” to apply for faculty appointments at Texas A&M, we will first determine the
percentage of white and Asian men who receive doctoral degrees, and then estimate

the number of applicants universities typically receive for open faculty jobs.




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              1.     Percentage of white and Asian men awarded doctoral
                     degrees
    In the 2019–20 academic year, there were 190,178 doctoral degrees granted by

post-secondary institutions in the United States. See National Center for Education
Statistics: Doctor’s degrees conferred by postsecondary institutions, by race/ethnic-

ity and sex of student: Selected years, 1976–77 through 2019–20, available at

https://bit.ly/3r0gxqt (last visited on October 7, 2022). 166,228 of those doctoral

degrees were awarded to U.S. citizens or permanent residents. See id. 70,728 of those
degrees were awarded to men (42.5%) and the remaining 95,500 were awarded to

women (57.5%). See id.

    Among the 70,728 male U.S. citizens or permanent residents who received doc-
toral degrees in 2019–20, the racial breakdown was as follows: 64.9% white, 13.0%

Asian, 9.5% black, 8.9% Hispanic, and 0.4% Native American or Native Alaskan. See

id. Adding the white and Asian percentage numbers (77.9%), and then multiplying
that sum by 42.5% (the percentage of doctoral degrees awarded to men), indicates

that 33.1% of the most recently awarded doctoral degrees are held by white or Asian

men. One can therefore estimate that 33.1% of faculty applicants to Texas A&M will
be white or Asian men based on the doctoral-degree numbers from 2019–20. And

this is a lowball estimate because the percentages of whites and men awarded doc-
toral degrees have declined steadily and substantially each year since 1976–77, when
men were receiving 78.2% of doctoral degrees and when 91.9% of those male doctoral

degrees were awarded to whites. Applicants for faculty positions at Texas A&M will
include not only the recently minted Ph.Ds but others who received their doctorates
when the demographics were more heavily tilted toward white men.




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              2.     Number of applicants per job opening
    The Court can reasonably estimate that the number of applicants for each uni-

versity faculty job opening range from 40 to 200. This estimate is derived from four

different sources. First, an article in Nature magazine puts the number of applicants
for a single academic job at between 100 and 200.1 Second, an article in Behavioral

and Social Sciences notes that one doctoral granting university received 218 appli-

cants per job.2 Third, a study conducted by the American Historical Association
found that the average number of applicants was 82 for each North American history

job opening, 50 for a Latin American or Asian history job opening, 88 for a European

history job opening, and 44 for an African history job opening.3 Fourth, an article
from Inside Higher Education puts the average number of applications for a North

American history job at 95.4

              3.     Estimate of the number of class members
    One can therefore estimate that each faculty opening at Texas A&M will yield

between 40 and 200 applicants, and that 13 to 66 of the applicants for each open
faculty position will be white or Asian men. The proposed class includes all white

and Asian men who stand “able and ready” to apply for any faculty position at Texas

1. See Nina Notman & Chris Woolston, How Many Applications It Can Take to Land
   a Single Academic Job Offer, Nature ( July 24, 2020), available at https://go.na-
   ture.com/3dsdNPC (last visited on October 7, 2022).
2. See Diego A. Reinero, The Path to Professorship by the Numbers and why Mentorship
   Matters, Behavioral and Social Sciences (October 23, 2019), available at
   https://go.nature.com/3BAhE5c (last visited on October 7, 2022).
3. See Robert B. Townsend, Odds for Applicants Improving, According to Survey of Job
   Advertisers, Perspectives on History ( January 1, 2001), available at
   https://bit.ly/3Lun2vb (last visited on October 7, 2022).
4. See Kaustuv Basu, A Small Bump, the Academic Job Market in History, Inside
   Higher Education ( January 3, 2012), available at https://bit.ly/3LzS0Cs (last
   visited on October 7, 2022).


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A&M, both now and in the future. This number easily clears the numerosity thresh-

old, as Texas A&M hires many new faculty each year and will continue to do so. See,

e.g., Texas A&M University Engineering, New faculty join computer science and engi-

neering department (September 27, 2022), available at https://bit.ly/3ypUQV3 (last
visited on October 7, 2022) (reporting that Texas A&M’s computer science and en-

gineering department alone hired 10 new faculty members for the fall 2022 semes-

ter). And the joinder of each of class member is impracticable given that the class

includes unnamed and unknown future individuals. See Pederson v. Louisiana State

University, 213 F.3d 858, 868 n.11 (5th Cir. 2000) (“The inclusion of future members

in the class definition a factor to consider in determining if joinder is impractica-

ble. . . . In the case at hand, the fact that the class includes unknown, unnamed future

members also weighs in favor of certification.”); see also Jack v. American Linen Sup-

ply Co., 498 F.2d 122, 124 (5th Cir. 1974).

       B.     There Are Questions of Law or Fact Common to The Members of
              The Class
    Professor Lowery is litigating at least three questions of law common to all mem-

bers of the class. The first is whether Texas A&M is violating Title VI and Title IX

by discriminating in favor of female and “underrepresented” minority faculty can-
didates and against white and Asian men. See Complaint, ECF No. 1, at ¶¶ 21–24.

The second is whether Texas A&M is violating 42 U.S.C. § 1981 by discriminating
in favor of “underrepresented” minorities in its faculty hiring, and against whites
and Asians. See id. at ¶¶ 25–29. The third is whether Texas A&M is violating the

Equal Protection Clause by discriminating in favor of female and “underrepre-
sented” minority faculty candidates and against white and Asian men. See id. at
¶¶ 30–35.



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    These questions affect all class members because each of them is facing or will

face discrimination on account of Texas A&M’s faculty-hiring policies. Each class

member is “suffer[ing] the same injury” from these discriminatory faculty-hiring

practices, and that is all that needed to satisfy Rule 23(a)(2)’s commonality require-
ment. Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 348 (2011) (quoting East Texas

Motor Freight Systems, Inc. v. Rodriguez, 431 U.S. 395, 403 (1977)); see also Wal-Mart,

564 U.S. at 360 (“[E]ven a single [common] question will do.” (citation and internal

quotation marks omitted)); In re Deepwater Horizon, 739 F.3d 790, 812 (5th Cir. 2014)

(same). And a ruling on these issues “will resolve an issue that is central to the va-

lidity of each one of the claims in one stroke,”5 as the requested declaratory and in-

junctive relief will prohibit race and sex discrimination in the university’s faculty

hiring and compel the university to hire in a color-blind and sex-neutral fashion.

       C.      Professor Lowery’s Claims Are Typical of The Claims of The
               Class
    Professor Lowery’s claims are more than typical: they are precisely the same as
those of the class. Professor Lowery is requesting a declaratory judgment and injunc-

tion that will restrain the university from discriminating against white or Asian men

in its faculty hiring, and he is asserting that same claim on behalf of each of the absent
class members. See James v. City of Dallas, 254 F.3d 551, 571 (5th Cir. 2001) (“[T]he

test for typicality is not demanding. It focuses on the similarity between the named
plaintiffs’ legal and remedial theories and the theories of those whom they purport
to represent.” (citations and quotation marks omitted)); id. (“[T]he critical inquiry

is whether the class representative’s claims have the same essential characteristics


5. Wal-Mart, 564 U.S. at 350; see also M.D. v. Perry, 675 F.3d 832, 840 (5th Cir.
   2012).


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of those of the putative class. If the claims arise from a similar course of conduct and

share the same legal theory, factual differences will not defeat typicality.” (citations

and quotation marks omitted)); see also Wal-Mart, 564 U.S. at 350 n.5 (“[T]he com-

monality and typicality requirements of Rule 23(a) tend to merge.” (quoting Gen. Tel.
Co. of Sw. v. Falcon, 457 U.S. 147, 157–58 n.13 (1982)).

       D.     Professor Lowery Will Fairly and Adequately Protect the
              Interests of The Class
    Professor Lowery will fairly and adequately represent the interests of their fellow

class members, and there are no conflicts of interest between Professor Lowery and
the other members of this class. No member of the proposed class can be harmed or

made worse off by a ruling that prohibits race or sex discrimination against white or

Asian men that stand able and ready to apply for faculty appointments at Texas
A&M.

       E.     The Proposed Class Satisfies Rule 23(b)(2)
    The final criterion for class certification under Rule 23(b)(2) is that “the party

opposing the class has acted or refused to act on grounds that apply generally to the
class, so that final injunctive relief or corresponding declaratory relief is appropriate

respecting the class as a whole.” Fed. R. Civ. P. 23(b)(2). The Supreme Court has
held that this requirement is satisfied “when a single injunction or declaratory judg-

ment would provide relief to each member of the class.” Wal-Mart, 564 U.S. at 360;

see also id. at 361–62 (“[T]he relief sought must perforce affect the entire class at
once . . . .”). That is precisely what Professor Lowery is requesting: a single declara-

tory judgment that the Constitution and federal civil-rights statutes prohibit Texas

A&M from engaging in race and sex discrimination in its faculty hiring by discrimi-
nating in favor of women and “underrepresented” racial minorities and against



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white and Asian men. See Complaint, ECF No. 1, at ¶ 36. No one is seeking individ-

ualized relief for any class member or for any subset of the class. Compare with M.D.,

675 F.3d at 845 (disapproving class certification under Rule 23(b)(2) when individu-

alized relief was sought). In addition, the defendants are “act[ing] . . . on grounds
that apply generally to the class,” because its racially discriminatory faculty-hiring

policies affect each of the proposed class members.

                                 CONCLUSION
    The motion for class certification should be granted.

                                           Respectfully submitted.

                                            /s/ Jonathan F. Mitchell
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 Dated: October 7, 2022                    the Proposed Class




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                  CERTIFICATE OF WORD COUNT
   I certify that this motion contains 2,192 words.

                                          /s/ Jonathan F. Mitchell
                                         Jonathan F. Mitchell
                                         Counsel for Plaintiff and the Proposed Class




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                    CERTIFICATE OF CONFERENCE
    Opposing counsel has not yet appeared in the case, so we are not yet able to

confer with the defendants on this motion. The motion will be hand-served on the

defendants along with the complaint and summons, and we will confer with oppos-
ing counsel and file an updated the certificate of conference as soon as the defend-

ants’ counsel appears in the case.



                                           /s/ Jonathan F. Mitchell
                                          Jonathan F. Mitchell
                                          Counsel for Plaintiff and the Proposed Class




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                      CERTIFICATE OF SERVICE
   I certify that this motion will be hand-served on the defendants along with the

complaint and summons.


                                         /s/ Jonathan F. Mitchell
                                        Jonathan F. Mitchell
                                        Counsel for Plaintiff and the Proposed Class




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